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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:

RAFAEL CORRALES-YUNEZ Case No. 12-22873-BKC-AJC

DOLORES MARIA CORRALES,
Chapter 13

Debtor(s).

 

MOTION TO INCREASE PLAN BASE
AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

Nancy K. Neidich, Standing Chapter 13 Trustee moves this Court to enter an order
increasing the Debtor’s Plan base by $1,968.00. In support, the Trustee states as follows:

1. On or about August 11, 2016, the Trustee received a check in the amount of
$1,968.00 from Chase. See Exhibit A.

2. As the funds have been turned over and are an asset of the estate, the Trustee requests
the Debtors’ plan base be increased by $1,968.00 so that the Trustee may disburse these funds to
allowed unsecured claims or if none, to the Debtor.

WHEREFORE, the Trustee requests that this Court enter an order increasing the Debtors’

plan base to $274.13 thereby and any further relief as deemed just and proper.

    

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JOSE I. MICELI, ESQ.

PB SIDER NO: 0077539
P.O. BOX 279806
MIRAMAR, FL 33027

(954) 443-4402
Dated: / [20 [1 7
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CERTIFICATION OF SERVICE

I CERTIFY that on lf / 20] LT a true and correct copy of the foregoing

 

and the Bankruptcy Clerk’s notice of hearing was served electronically on Debtor’s counsel and
By U.S. Mail on:

Wells Fargo Bank, N.A., AKA Wachovia Mortgage, A Division of Wells Fargo
Attn: Bankrutpcy Depart. MAC #T7416-023
4101 Wiseman Blvd., San Antonia, TX 78251.4201

Ana-Laura Diaz

Aldridge | Connors LLP

7000 W. Palmetto Park Rd., Suite 307
Boca Raton, FL 33433-3430

[ECF No. 56]

Whitney Groff

Aldridge | Connors LLP

Fifteen Piedmont Center

3575 Piedmont Road, N.E., Suite 500
Atlanta, Georgia 30305

[ECF No. 65]

/s/
JOSE I. MICELI, ESQ.
 

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WZ SunTrust Lockbox Services

SuNTRUST Individual Batch Report
13DE Neidich, Nancy 2099 08/15/2016

Check No: Acct No: Amount: Batch: 938 Transaction: 14 Image: 3

   

 

 

 

 

 

 

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August 3, 2016 . ‘

NANCY K. NEIDICH
PO BOX 279806 '
MIRAMAR, FL 33027

Subject: Refund check enclosed
Case number: 1222873 , :
Mortgagor(s): RAFAEL CORRALES-YUNEZ & DOLORES ‘CORRALES’
Loan number: 708-0482920568
Property address: 7655 SW 134TH ST PINECREST, FL 39156

Dear NANCY K. NEIDICH:

The mortgage account related to the above referenced property was impacted by the settlement
agreement in the In re: Green case pending before the U.S. Bankruptcy Court for the District of
Maryland (case# 11-33377). Even though the bankruptcy case may not have been pending in
Maryland, it was impacted by the settlement agreement, This prompted us to review this mortgage
account to determine if certain activities occurred in a timely manner. :

During our review, we determined that the account is due a refund. We've included a copy of the
debtors’ letter for your review, and have sent it to the debtors’ attorney.

Since the debtors are in an active bankruptcy case, the refund is being sent to you as the bankruptcy
trustee.

A refund check is enclosed with this letter.

If you have any questions or believe there is an error in our records, please call us at
1-877-599-9953, Monday through Friday, 9:00 a.m, to 6;00 pum, Central Time or email us at
NSS8o00TrusteeResponse@wellsfargo.com. If you have further questions about the settlement
agreement generally, go to www. wiindependentreview.com, a website established by the
Independent Reviewer appointed in the settlement case, ‘ ‘

Bankruptey Department
Wells Fargo Bank, N.A.
Enclosure

 

 

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